           Case 1:20-cr-00340-VEC Document 12 Filed 10/21/20 Page 1 of 1
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                                                                              ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                  DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                 DATE FILED: 10/21/2020
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 UNITED STATES OF AMERICA                                       :
                                                                :
                 -against-                                      :
                                                                :        20-CR-340 (VEC)
                                                                :
 JUSTINE BARAJAS,                                               :            ORDER
                                                                :
                                          Defendant.            :
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VALERIE CAPRONI, United States District Judge:

        WHEREAS a status conference is scheduled for October 28, 2020, at 2:30 p.m.; and

        WHEREAS Defendant has waived his appearance and consented to conducting the

conference as a teleconference;

        IT IS HEREBY ORDERED that the October 28, 2020 status conference shall be

conducted as a teleconference. The parties may dial-in using (888) 363-4749, Access code

3121171#, Security code 0340#.



SO ORDERED.

Dated: October 21, 2020
      New York, NY
                                                                    ___________________________
                                                                        VALERIE CAPRONI
                                                                      United States District Judge
